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                        UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF WISCONSIN

GIORGIO PROUSE
                                                         Case No.: 12-CV-644
       and           Petitioner,


ROBIN K. THORESON

                     Respondent.


             RESPONDENT’S POST HEARING BRIEF IN OPPOSITION
                   TO PETITION FOR RETURN OF CHILD


                               I. PROCEDURAL STATUS

       Respondent, Robin K. Thoreson, continues to object, respectfully, to the expedited

scheduling in this case. The expedited evidentiary hearing obviated discovery and denied

Ms. Thoreson the right to present all evidence relevant to a final decision on the Petition.

       The Fourteenth Amendment's Due Process Clause has a substantive component that

“provides heightened protection against government interference with certain fundamental

rights and liberty interests,” Washington v. Glucksberg, 521 U.S. 702, 720, 117 S.Ct. 2258,

138 L.Ed.2d 772, including parents' fundamental right to make decisions concerning the

care, custody, and control of their children, see, e.g., Stanley v. Illinois, 405 U.S. 645, 651,

92 S.Ct. 1208, 31 L.Ed.2d 551. Pp. 2059–2060. Troxel v. Granville, 530 U.S. 57, 120 S.

Ct. 2054, 2056, 147 L. Ed. 2d 49 (2000).

       The evidence as to the parties’ financial circumstances and marital relationship

showed there to be a negligible chance Ms. Thoreson would take up her residence in Italy


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if the child is ordered returned. As such, this Court’s order to return the child to Italy

would be a significant government interference in Ms. Thoreson’s fundamental right to

make decisions concerning the care, custody and control of her daughter.

       Ms. Thoreson had three (3) working days to prepare for the initial appearance before

this Court of September 12th and the hearing on September 18th and only six (6) working

days from the date of the original service of the Petition. The Hague Convention itself at

Article 11 provides for a decision to be reached within six (6) weeks of the commencement

of an action.

       Dr. Prouse’s pleadings created an atmosphere of “emergency.” The initial evidence

belies an emergency. Provisional relief assures the child, J.P., will not be removed from

the Court’s jurisdiction and the parties have been able to work out agreements so the

Petitioner, Dr. Prouse, has continuing contact with his daughter.

       Under these circumstances, Ms. Thoreson respectfully submits that a pretrial

conference and scheduling order pursuant to Fed. R. Civ. P. 16 in anticipation of a full

hearing on the merits is appropriate.

                                  II. DR. PROUSE’S “FACTS”

      Dr. Prouse took great liberty in arguing the facts in pages 2 through 4 of his Brief.

To wit,

                (a)     Ms. Thoreson testified that Dr. Prouse leased out their
                home in Milan and she cleaned it out for purposes of moving.
                However, upon Ms. Thoreson and J.P.’s departure from the
                home, Dr. Prouse moved to the apartment that all three had
                lived in previously and, although it is smaller, it is adjacent to
                his mother’s home (J.P.’s paternal grandmother with whom
                J.P. is close) and his mother’s home has 5 bedrooms;

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              moreover, he is now moving back into the family residence
              because his tenant is leaving (Trial Transcript, p 57, lines 20-
              22).

       In the fall or early winter of 2011, the parties listed their home for sale or lease and

signed a lease for four (4) years commencing February 1, 2012 with a four (4) year

option to renew. (Trial Tr. p. 54 lines 5 through p.55 line 11; and p. 66 lines 4-9, ECF

No. 24). Dr. Prouse claims “he is now moving back into the family residence because his

tenant is leaving.” Dr. Prouse cannot turn back the hands of time. At the time Ms.

Thoreson and the child left to the United States, the former marital home was leased for

four years. The was no intention whatsoever for anyone in the family to return to the

home for at least four years. It is disingenuous now for Dr. Prouse to somehow imply

now that the unexpected termination of the lease supports his contention that the child

was to return to Italy in the summer of 2012. Moreover, Dr. Prouse did not present any

evidence to show that the financial difficulties that had prompted the lease were now

alleviated such that he and the child would be able to again afford the house.     Dr. Prouse

moved into a one bedroom below ground apartment when Ms. Thoreson and the child

departed for the United States. (Trial Tr. p. 58 lines 13-16, ECF No. 24). He did so

because he did not expect or anticipate the child would be returning to live in Italy.

              (b) Ms. Thoreson and J.P. left family pets, including several
              dogs and a horse, behind in Italy (Trial Transcript, p 102,
              lines 8-16).

       The parties purchased round trip airline tickets on Swiss Air to allow Ms.

Thoreson and J.P. to relocate several pets when they moved to Beloit in December of

2011. (Trial Tr. p.104 lines 13-18 and p. 68 lines 16 through p.69 line 1, ECF No. 24).
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Ms. Thoreson’s horse was already dead by the time she left Italy; her horse did not

“subsequently die”.    (Trial Tr. p. 74 lines 6 -19, ECF No. 24).

               (c) J.P. left many of her clothes and toys in Milan (Trial
               Transcript, p. 50, lines 11-19).

J.P. did not leave any personal items behind in Italy other than clothing that no

longer fit her and toys that are no longer age appropriate. (Trial Tr. p.73 lines 20

through p.74 line 5, ECF No. 24).

               (d) Ms. Thoreson left clothes and personal belongings in
               Milan; Ms. Thoreson left a car in Milan (Trial Transcript,
               p.50, lines 24-25; p. 114, lines 10-12).

The only things Mrs. Thoreson left behind in Italy were her saddle and a pair of riding

boots.    (Trial Tr. p.73 lines 14-19, ECF No. 24). Items that were of no use to her with a

dead horse. The car she left behind was a 1998 car she did not drive on a regular basis

which bears license plates from Illinois, here in the United States, (Trial Tr. p. 114 lines

10 -17, ECF No. 24).

               (e)    Although Dr. Prouse wrote to J.P.’s school in Milan in
               early September 2011 (9/2/11) telling the school that J.P.
               would no longer be attending the school effective December
               21, 2011, because of “our” move to the United States, the
               evidence established that he wrote this letter referring to
               “our” move because he hoped that the school would refund a
               portion of the very expensive tuition that he had paid (Trial
               Transcript, p. 56, lines 4-11).

Petitioner himself wrote to J.P.’s school in September of 2011 telling the school that the

family was moving to the United States “due to sudden unexpected reasons of work.”

(Trial Tr. p. 55 lines 17 through p.56 lines 1 -15, ECF No. 24). This is entirely consistent


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with the intent and actions of the parties in moving J.P to the United States. If J.P. was

returning to Italy the following semester, Petitioner could have easily requested a credit

on her tuition instead of lying to her school. The truth is, J.P. was not expected to return

to Italy.

              (f)    Dr. Prouse and Ms. Thoreson discussed several
              different places to live after he completed his residency.
              These included Switzerland, South Africa, Australia, and the
              United States. These were all possibilities, but no decision
              was made (Transcript, p.99, lines 19-23; p. 28, lines 5-10).

The parties did discuss the options of moving to Switzerland, South Africa, Australia or

the United States and jointly agreed upon the United States, as clearly demonstrated by

J.P. and Ms. Thoreson moving here in December of 2011. (Trial Tr. p. 99 line 19 through

p.101 line 4 and p. 28 lines 24 through p.29 line 10, ECF No. 24).

              (g)     Dr. Prouse never seriously looked to move to the
              United States at all. He still was in residency when Ms.
              Thoreson and J.P. left in December 2011. He testified that he
              has no medical license in the United States and it will be very
              difficult to get one. The United States would not accept his
              Italian medical degree and he would likely need to start over
              with a new residency. (Transcript, p. 65, lines 8-13) Dr.
              Prouse did not apply anywhere in the United States and he
              confirmed in testimony that he had not taken any steps to
              obtain a license to practice medicine in the United States.
              (Trial Transcript, p 12, lines 5-7) Ms. Thoreson admitted that
              she was unaware of any programs or places that Dr. Prouse
              would be applying to in the United States. (Trial Transcript.,
              pp 101-03)

All of Petitioner’s actions and communications confirmed he intended for his family to

move to the United States. If he had reservations about his ability to obtain his medical




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license in the United States, he should have explained this fact to Mrs. Thoreson prior to

formulating a plan for the family to relocate their residence to the United States.

                         III. CREDIBILITY OF THE PARTIES

       The Court observed the testimony of the parties. Dr. Prouse was very charming and

smooth in his performance. Charm and smoothness do not equate to credibility. His very

first answer was a misrepresentation as to where he lives. (Trial Tr. p.9 lines 12-13 and p.

52 lines 23- p.53 line 15; p. 57 line 18- p. 58 line 6, ECF No. 24). When caught in his

misrepresentations, he always had an explanation. Yet every pleading file in this case by

Dr. Prouse, along with his sworn testimony, misrepresents his residence.

       Dr. Prouse attempted to explain his letter to J.P.’s school in September of 2011

which included the “excuse of all of us moving instantly for work” to the United States as a

misrepresentation with the intent to obtain a refund on J.P.’s school tuition. (Trial Tr. p.61

lines 5-15, ECF No. 24) In other words, Dr. Prouse is willing to lie to obtain an advantage.

       Similarly, to gain an advantage, Dr. Prouse misrepresents to this Court that J.P.’s

move to the United States was to be temporary. In actuality this fallacy was created by Dr.

Prouse in late July 2012 after he was served with the Illinois divorce papers and retained

counsel. (Trial Tr. p. 44 lines 11-23, ECF No. 24; Aff. of Attorney Tom Glasgow ¶¶ 5-8

and Ex. B thereto; Respondent’s Trial Ex.21; and Petitioner’s Trial Ex. 3 & 4). There is

not a scintilla of evidence, that prior to being served with the Illinois divorce papers, Dr.

Prouse intended J.P. to return to Italy after one semester of school in the United States. Dr.

Prouse is the party pursuing the Hague action merely to obtain an advantage after being

brought within the jurisdiction of the Illinois family court.

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       Dr. Prouse’s explanation as to why there is no evidence of any communication

regarding J.P.’s alleged planned return to Italy for the fall school year is because “he likes

to discuss things in person”. (Trial Tr. p. 57 lines 8 -17, ECF No. 24). This is the same

man who ended his marriage to Ms. Thoreson via a telephone call while she was working

as a flight attendant on a lay-over in Rome, Italy. (Trial Tr. p. 78 lines 6-25, ECF No. 24;

Respondent’s Trial Ex. 10). Yet when he chooses to communicate in writing, he certainly

does so, as the evidence shows. The reason there is no written evidence of Dr. Prouse’s

claimed intention that J.P. return to Italy in the summer of 2012 is quite simple. That was

not his intention. Dr. Prouse testimony is simply not to be believed.

                                        IV. FACTS

  (a) In the summer/fall of 2011 the parties were experiencing financial difficulties and

       agreed a move was necessary to improve their employment opportunities. The

       decision was made to move to the United States because Ms. Thoreson did not feel

       safe moving to South Africa, she could not work in Australia and the United States

       offered the best economic solution.    (Trial Tr. p. 99 line 19- through p.101 line 4

       and p. 28 lines 24 through p.29 line 10, ECF No. 24).

  (b) Petitioner then rented out the family home for four (4) years commencing February

       1, 2012 with a four (4) year right of renewal. (Trial Tr. p. 54 lines 5 through p.55

       line 11 ECF No. 24 and Respondent’s Trial Ex. 1)

  (c) September 2, 2011, Petitioner wrote and advised J.P.’s school that the family was

       moving to the United States for a work situation and that she would no longer be



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    attending school; (Trial Tr p. 66 lines 4-9 and p. 55 lines 17 through p.56 lines 1 -15

    ECF No. 24 along with Respondent’s Trial Ex. 2).

(d) December 28, 2011, J.P. and Ms. Thoreson move to the United States traveling on

    round trip airline tickets Dr. Prouse purchased on Swiss Air for Ms. Thoreson and

    J.P., to allow them to travel from Italy to the United States in order to move family

    pets in December of 2011. (Trial Tr. p.104 lines 13-18 and p. 68 lines 16 through

    p.69 line 1, ECF No. 24).

(e) January 7, 2012, Ms. Thoreson flew back to Milan to finish cleaning and packing

    their previous home. She flew in to Italy on her American Airline passes and left

    two or three days later, on a purchased Lufthansa ticket to enable her to bring J.P.’s

    dog and hamster back with her to the U.S. Lufthansa and Swiss Air are the only

    airlines that allow passengers to carry animals. (Trial Tr. p.73 lines 3-13, p.74 lines

    6-17 and p. 68 lines 20-24, ECF No. 24).

(f) On January 7, 2012, Petitioner had Ms. Thoreson purchase tickets for him to travel

    to the United States to visit Ms. Thoreson and J.P. in January 2012 for J.P.’s

    birthday. He requested the purchased tickets on Lufthansa Airlines to guarantee his

    seat, because traveling on Ms. Thoreson’s passes does not ensure a seat. He asked

    Ms. Thoreson to book the return portion of his Lufthansa flight for August “when

    returning to Italy would be difficult”. (Trial Tr. p.98 lines 1-23, ECF No. 24;

    Respondent’s Trial Ex. 24). No plan was made or tickets purchased for J.P.’s

    “return” to Italy in August. (Trial Tr. p.98 lines 24 through p. 99 line 3, ECF No.

    24).

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(g) March-April of 2012, when Ms. Thoreson and J.P. returned for the Easter break they

    flew to Italy on the return leg of their Swiss Air tickets from December. (Trial Tr.

    p.75 lines 7-17, ECF No.24; Respondent’s Trial Ex. 8).

(h) On April 13, 2012, Dr. Prouse advised Ms. Thoreson in a telephone call that he had

    unilaterally changed his mind about the “family” plans and decided he no longer

    wanted to be married to Ms. Thoreson. (Trial Tr. p.78 lines 6 through 25, ECF No.

    24).

(i) April 17, 2012, Ms. Thoreson travels to Italy to speak with Dr. Prouse, and when

    she inquires where she and J.P. will live, he indicates that “the United States is a

    big place” and that Arizona would be a good place to move to be with Michelle,

    who will find “joy” in helping raise J.P. because Michelle “really loves” J.P.

    (Trial Transcript p.114 lines 18 through p. 116 line 1).

(j) On July 13, 2012, after telling her of his decision to end their marriage in a

    telephone call in April, he confirmed that “As you sayd (sic)…it was all my choice.”

    He also pointed out “And if you ever feel like it you can keep me updated.

    Afterall (sic) i (sic) am still her father, at least from a biological point of view

    even though it will be some other man that will bring her up and that she will

    grow up with.” (Trial Tr. p.85 lines 20-p. 86 line 12, ECF No. 24; Respondent’s

    Trial Ex. 13). This is not the statement of a man who intended for his daughter to be

    returning to live in Italy in the following weeks. This e-mail confirms Petitioner

    intended for J.P. to move to the United States for the indefinite future with her

    mother.

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(k) July 14th through Saturday August 4th, Petitioner made plans for J.P. to visit him in

    Italy for three (3) weeks. (Trial Tr. p.86 lines 13- p.87 line 7, ECF No. 24; and

    Respondent’s Trial Exhibits 14 & 15). Why would the financially strapped parties

    pay $2,204 for a ticket for J.P. to visit Italy for three weeks in July/August if she

    was returning at the end of August for the fall school semester? This flies in the face

    of reason. She was travelling to Italy to visit her father prior to returning to school

    here in the United States. Otherwise she could have flown standby in early to mid-

    August on her mother’s passes, saved the $2,204 and spent two or three weeks with

    her father before school commenced in Italy. They purchased these tickets to ensure

    J.P. had a vacation with her father prior to school and that she was guaranteed seats

    on these flights. Given Petitioner’s concern about his ability to have a guaranteed

    seat on a flight in late August for his return to Italy, this caring father would

    certainly not be allowing J.P. to fly standby in late August to return to Italy in time

    for school.

(l) June 2012, Ms. Thoreson retains legal counsel, Attorney Tom Glasgow, in Illinois

    to commence divorce proceedings. (Trial Transcript p.112 lines 2- 13 ECF No. 24)

(m) June 27, 2012, Ms. Thoreson drops J.P. at O’Hare airport to travel with Dr. Prouse

    to Washington D.C. on her stand by passes on American Airlines. (Trial

    Transcript p.83-lines 18 through p.84 line- 21 ECF No. 24)

(n) July 1, 2012, Dr. Prouse is served with the Petition in the divorce action while in

    Chicago. (Trial Transcript p. 36 lines 11-21 ECF No. 24).



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(o) July 2nd-25th, Dr. Prouse has telephone and e-mail contact with Attorney Glasgow

    and never suggests J.P. is expected to return to Italy for the beginning of school in

    late August or early September of 2012 (Affidavit of Attorney Glasgow and

    Exhibit B thereto).

(p) July 25, 2012, Dr. Prouse retains legal counsel (Respondent’s Trial Exhibit 21)

(q) July 30th-31st, Dr. Prouse files his criminal complaint and Hague action in Italy

    (Petitioner’s Trial Exhibit 3 & 4).

(r) September 5, 2012, Dr. Prouse files this Hague action in the Western District of

    Wisconsin. (ECF No.1).

(s) Petitioner made no effort to enroll J.P. in any school in Italy for the fall semester.

    (Trial Tr. p.58 lines 17 through p. 59 line 18, ECF No. 24). In fact he has made no

    plans at all to arrange for J.P. to live or attend school back in Italy, or at least none

    that he shared with the Court.

(t) Petitioner would like this Court to believe that the parties planned for Ms. Thoreson

    to send J.P. back to live in Italy while she remained in the United States. (Trial Tr.

    p.34 lines 18-25, ECF No. 24) But there was no indecisiveness when Ms. Thoreson

    heard Petitioner’s version of this possibility for the first time in Court on September

    18th. She was adamant and very credible that there was never any such conversation

    with her husband, nor would she possibly consider living in a foreign country away

    from her daughter. (Trial Tr. p. 83 lines 2-14, ECF No. 24).

(u) Finally, even though Dr. Prouse had flown from Italy to attend the hearing on

    September 18, 2012, he never took the stand to refute or disagree with any

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      testimony offered by Ms. Thoreson regarding his communications, the end of the

      marriage or his suggestion to move J.P. to Arizona. If Ms. Thoreson was lying, he

      surely would have taken the opportunity to explain to this Court his version of this

      conversation.

                             V. APPLICABLE LAW

      A.     Petitioner Has Not Met His Burden Of Proving A “Wrongful
             Removal” And The United States Is Now J.P.’S Habitual
             Residence

     The Ninth Circuit analyzed wrongful removal under the Hague Convention in the
seminal case of Mozes v. Mozes, 239 F.3d 1067, 1070 (9th Cir. 2001) explaining:

             The key operative concept of the Convention is that of “wrongful”
             removal or retention. In order for a removal or retention to trigger
             a state's obligations under the Convention, it must satisfy the
             requirements of Article 3:
             The removal or the retention of a child is to be considered
             wrongful where-
             a) it is in breach of rights of custody attributed to a person, an
             institution or any other body, either jointly or alone, under the law
             of the State in which the child was habitually resident immediately
             before the removal or retention; and
             b) at the time of removal or retention those rights were actually
             exercised, either jointly or alone, or would have been so exercised
             but for the removal or retention.
             Convention, art. 3, 19 I.L.M. at 1501. A court applying this
             provision must therefore answer a series of four questions: (1)
             When did the removal or retention at issue take place? (2)
             Immediately prior to the removal or retention, in which state was
             the child habitually resident? (3) Did the removal or retention
             breach the rights of custody attributed to the petitioner under the
             law of the habitual residence? (4) Was the petitioner exercising
             those rights at the time of the removal or retention?

Mozes at 1070.

      The evidence shows clearly in this case the parties shared a mutual intent for J.P.

to move with her mother to the United States. The question is at what point in time does
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Dr. Prouse claim a “wrongful removal or retention”? Dr. Prouse admits he first raised his

claim of wrongful retention on or about July 30, or 31, 2012. (Petitioner’s Trial Exhibits

3 & 5; Trial Tr. p.44 lines 16-24, ECF No. 24) At that time, J.P. was a habitual residence

of the United States and had lived here for over seven (7) months.

      The often cited quote from Mozes regarding “habitual residence” reads:

             Lord Brandon has discussed the distinction between abandoning a prior
             habitual residence and acquiring a new one:
                There is a significant difference between a person ceasing to be
                habitually resident in country A, and his subsequently becoming
                habitually resident in country B. A person may cease to be habitually
                resident in country A in a single day if he or she leaves it with a
                settled intention not to return to it but to take up long-term
                residence in country B instead. Such a person cannot, however,
                become habitually resident in country B in a single day. An
                appreciable period of time and a settled intention will be necessary to
                enable him or her to become so.

Mozes at 1074-75 (emphasis added).

    Ms. Thoreson is not claiming that J.P. has been here for more than one year under

Article 12 of the Convention and hence needs to make the requisite showing that J.P. is

now “settled”. Ms. Thoreson’s position is quite simply that, pursuant to Article 13 of the

Hague Convention, the Petitioner consented to and in fact actively participated in the

decision for her to move with J.P. to the United States. She has more than met her

burden by a preponderance of the evidence as required under 42 U.S.C. § 11603 as to the

intent and consent of the Petitioner in moving J.P. here in December of 2011.

        The fact that J.P. is now “settled” here in the United States therefore becomes

highly relevant under Mozes and its progeny. Mozes sets forth a two-step analysis in

determining a child’s “habitual residence”.      The first test involves the inquiry as to


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whether or not the parents demonstrated an intent to abandon the prior habitual residence.

Id at 1075. That Dr. Prouse and Mrs. Thoreson’s shared intent to abandon their marital

home in Italy and relocate to the United States is undisputable and the evidence is

overwhelming. Hence the second step of the inquiry becomes necessary. The second step

of the analysis is whether there has been a change in geography for an appreciable period

of time so that the child has become settled or “acclimatized”. Id at 1078.

       Mozes was adopted by the Seventh Circuit in Koch v. Koch, 450 F.3d 703, (7th

Cir. 2006) holding; “The district court reluctantly used Mozes in the alternative, but we

see no reason to disavow the Mozes approach and believe it is far more flexible than the

district court inferred.” Koch at 715.

       B.     Ms. Thoreson Proved By More Than A Preponderance Of The
              Evidence That The Parties Shared A Joint Intent To Relocate
              The Family And Establish A Residence In The U.S.

       The facts establish that the parties shared a mutual intent to permanently relocate

to the United States when Robin and J.P. left Milan in December of 2011. They were

experiencing financial difficulties and considered several countries where their prospects

were brighter. Petitioner himself rented out the former marital home for a term of four to

eight years. Petitioner himself wrote to J.P.’s school advising she would not be returning

after December 21, 2011, because the family was moving to the United States for work

reasons. Petitioner purchased roundtrip airline tickets that would allow Ms. Thoreson

and J.P. to relocate the family pets.

       Our Seventh Circuit adopted the analysis set forth by the Ninth Circuit in the

seminal Mozes decision, in its opinion in Koch v. Koch 450 F. 3d 703 (7th Cir. 2006).

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              Following Mozes, most of our sister circuits focused on the parents' last
              shared intent in determining habitual residence. See, e.g., Gitter, 396
              F.3d at 131-33 (finding the Mozes opinion “particularly instructive” in
              determining habitual residence by considering the intentions of the parents
              as of the last time their intentions were shared); Ruiz, 392 F.3d at 1252-55

Koch at 715 (emphasis added).

       Intent cannot be determined in this case by Petitioner’s self-serving testimony

subsequent to the commencement of divorce proceedings. It must be decided by all of his

actions as well as his inaction. Intent is a fact that jurors and courts routinely determine

particularly in criminal cases.

              Intent is a fact: “The state of a [person's] mind is as much of a fact as the
              state of his [or her] digestion.” State v. Lossman, 118 Wis.2d 526, 543,
              348 N.W.2d 159 (1984) (quoting William L. Prosser, The Law of Torts §
              104, at 745 (3d ed.1964)). Intent is a fact that “must be inferred from the
              acts and statements of the person, in view of the surrounding
              circumstances.” Pfeifer v. World Serv. Life Ins. Co., 121 Wis.2d 567, 569,
              360 N.W.2d 65 (Ct.App.1984).

Welytok v. Ziolkowski, 2008 WI App 67, 312 Wis. 2d 435, 453, 752 N.W.2d 359, 367

       All of the evidence confirms the family intended to relocate to the United States for

an indefinite period until Petitioner could sort out the financial troubles his aspirations had

created. (Respondent’s Trial Ex. 9). Petitioner himself testified that he did not know what

country the parties would be living in in the future after the family abandoned its marital

residence and home in Italy. (Trial Tr. p. 64 lines 18-22, ECF No. 24). While Ms.

Thoreson was willing to move anywhere with Dr. Prouse in an effort to save their

marriage, the overwhelming evidence established that the last shared intent of the parties

was to establish residency in the United States. Ms. Thoreson and J.P. have honored that




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agreement and followed through on the family’s plan as it was reached in December of

2011.

        C.     J.P.’s Habitual Residence Is Now The United States

        Respondent repeatedly attempted to introduce evidence as to J.P.’s current

habitual residence at the time of the September 18th hearing. (Trial Tr. p. 70 line 21- p 71

line 25, p. 116 line 21-25 and p.118 line 3-13, ECF No. 24). The second prong of the

analysis in Mozes is “whether there has been a change in geography for an appreciable

period of time so that the child has become settled or “acclimatized”. Id at 1078.

        The “appreciable period” under Mozes does not require one year of time to pass as

does Article 12 of the Convention. In fact there is not even a six (6) month minimum as

required under § 822.21 (1) (a) Wis. Stats., the Uniform Child Custody Jurisdictional Act.

(UCCJA). The judicial website established for guidance in deciding these difficult cases

brought under the Hague Convention makes precisely this point:

        4. Habitual Residence
            a. Habitual residence. Habitual residence is not defined in the Treaty, but
                it has come to mean, through interpretation, the place where the child
                has lived for some period of time for a settled purpose. Theoretically
                a habitual residence could be acquired in one day, such as where
                a family picks up and moves lock, stock and barrel to another
                country for the foreseeable future. The cases describe the concept
                of habitual residence as one which is “fact intensive”. Unlike the 6
                months period of time required to acquire a “home state” under
                the UCCEA, a child’s habitual residence can be acquired in a
                much shorter period of time. Temporary and time limited
                relocations, even though for a longer period of time, may not result in
                a change of a residence, e.g. parents change location in order to
                complete their education. (emphasis added)

Honorable James D. Garbolino, A Quick Overview of the Convention, Hague Judicial
Resources,
http://www.haguejudicialresources.org/Hague_Judicial_Resources/Quick_Overview.html

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      If this Court is considering issuing an Order sending J.P. back to Italy on the basis

that Italy is her “habitual residence” we have a woefully inadequate record on which to

base such a decision.

               The term “habitual residence” is “not defined by either the Hague
               Convention or the ICARA.” Kanth v. Kanth, 232 F.3d 901, 2000 WL
               1644099, *1 (10th Cir. Nov. 2, 2000). Rather, a child's habitual residence
               “is defined by examining specific facts and circumstances.” Id.
               Accordingly, the inquiry into a child's habitual residence “is a fact-
               intensive determination that necessarily varies with the circumstances of
               each case.” Whiting v. Krassner, 391 F.3d 540, 546 (3d Cir.2004).
               Ultimately, the determination of a child's habitual residence is a mixed
               question of fact and law. Id. (emphasis added)

Carrasco v. Carrillo-Castro, CIV. 12-268 MV-WDS, 2012 WL 1948996 (D.N.M.

May 29, 2012).

      This Court must consider all of the relevant facts in determining J.P.’s habitual

residence. As the Seventh Circuit Court pointed out in its decision in Koch:

               Often, by the time one parent has filed an action under the Convention for
               the return of a child, the parents no longer share an intent on the child's
               habitual residence. Because of this complication, the Mozes court
               acknowledged that the representations of the parties likely cannot be
               accepted at face value, and the court should determine “from all available
               evidence whether the parent petitioning for return of a child has already
               agreed to the child's taking up habitual residence where it is.” 239 F.3d at
               1076.

Koch at 713.

      No reported decision makes such an important decision on the basis of an

emergency hearing held within days of the filing of a Petition. The reported decisions all

involve hearings held after discovery and some months, if not years have elapsed. The

situation before this Court does not involve one party surreptitiously removing a child

from a contracting country on a pretext or without notice. Nor is this a case where the

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parent charged with the alleged wrongful removal has changed her mind after the fact and

decided not to return. This is a case unlike any in the reported decisions. This is a case

where the purported “left behind” parent changed his mind after the move and now wants

to manipulatively use the Hague convention to gain an advantage in the family law

proceedings by filing false claims.

       The closest factual case Respondent’s counsel could locate is found at Silvestri v.

Oliva, 403 F. Supp. 2d 378, (D.N.J. 2005). In Silvestri the parties began to formulate a

plan to relocate their family from Argentina to the United States. After the mother and

children had settled and the father had spent some time in the United States, he changed

his mind and wanted to return to Argentina.

               (“[E]ven if, as Petitioner maintains, he and Respondent only intended to
               live in the United States for a ‘prolonged’ but limited period of time while
               trying to resolve their marital problems, rather than permanently, that
               intent is still sufficient to establish a new habitual residence.”). Here, the
               evidence of record demonstrates the parties' shared purpose was to discard
               Argentina as the habitual residence, and at least for a limited period of
               time, acquire a new habitual residence in the United States.

Silvestri at 385.

       Confirming the “shared intent” test the Court went on in Silvestri to point out

“Even though Petitioner eventually and unilaterally formed an intent to return to

Argentina, that change of mind does not alter the parents' initial shared intent to make the

United States their new habitual residence. See Sasson, 327 F.Supp.2d at 497 (citing In re

Morris, 55 F.Supp.2d 1156, 1162-63 (D.Colo.1999)).” Id at 386.




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       D.     Our Seventh Circuit Has Adopted The Mozes Analysis As To
              The Role Of Parental Intent And Not That Of The Sixth Circuit
              As Set Forth In Friedrich

       Petitioner focuses his legal argument on the decision issued by the Sixth Circuit in

Friedrich v. Friedrich, 78 F.3d 1060, 1070 (6th Cir. 1996). However, our Seventh

Circuit has never adopted the Friedrich analysis set forth in that 1996 opinion as to

determining parental intent in actions commenced under the Hague Convention. In two

decisions subsequent to Friedrich and Mozes, the Seventh Circuit has expressly followed

the Ninth Circuit’s well-reasoned decision in Mozes as our controlling precedent.           See

Koch v. Koch, 450 F.3d 703 (7th Cir. 2006) and Norinder v. Fuentes, 657 F.3d 526 (7th

Cir. 2011).

              In Koch v. Koch, 450 F.3d 703 (7th Cir.2006), we discussed in detail how
              habitual residence should be determined, and we adopted a version of the
              analysis set out by the Ninth Circuit in Mozes v. Mozes, 239 F.3d 1067
              (9th Cir.2001). The question is whether a prior place of residence (in this
              case, the United States) was effectively abandoned and a new residence
              established (here, Sweden) “by the shared actions and intent of the parents
              coupled with the passage of time.” Koch, 450 F.3d at 715. Often parents
              will not agree about what their shared intentions were once litigation is
              underway, and so we must take account of the parents' actions as well as
              what they say. Id. at 714.

Norinder v. Fuentes, 657 F.3d 526, 534 (7th Cir. 2011)

       In Norinder at page 530 the Seventh Circuit noted the decision in Friedrich for the

proposition that it is not the Court’s province to “resolve messy domestic conflict.”, but

failed to adopt its substantive holding. In addition, Friedrich bears no factual similarity

to the present action. In Friedrich, the mother secretly departed with the minor child and

the issues presented on appeal involved the definition of what it meant to “exercise

custody rights” and the standard for a determination that a return of the child would result

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in a “grave” risk of harm. Friedrich at 1063. The wrongfully removing mother also

claimed the Court erred in not finding her husband had consented to the removal of the

minor child. The Court pointed out: “The deliberately secretive nature of her actions is

extremely strong evidence that Mr. Friedrich would not have consented to the removal of

Thomas. For these reasons, we hold that the district court did not abuse its discretion in

finding that Mrs. Friedrich took Thomas to America without Mr. Friedrich's consent.” Id

at 1069. This decision can hardly be utilized to determine “intent” in a case such as ours

where the parties agreed to the child moving to the United States.

      Friedrich is informative to note that the child was wrongfully removed in August

1991, the Petition was filed on September 3, 1991, and the decision was issued after a

second appeal on March 13, 1996, following a remand to the District Court which

allowed for additional discovery and a new hearing.

      Petitioner also relies on the unreported Memorandum Opinion and Order in

Tabacchi v. Harrison, 99 C 4130, 2000 WL 190576 (N.D. Ill. Feb. 10, 2000).

Respondent fails to perceive how this opinion is remotely on point or helpful to this

Court in its analysis of the facts presently before the court. Tabacchi is another case

where a mother fled unannounced with a child from their habitual residence in Italy

without any notice or discussion with the father on January 16, 1999. The father reported

the incident to the police the following day and ultimately filed an action under the

Hague Convention on June 22, 1999. The bench trial in Tabacchi was held over three

days on November 24, 29, and December 3, 1999.



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       Tabacchi’s focus is a discussion regarding the “grave risk” exception and follows

Friedrich and never mentions Mozes. Tabacchi provides no guidance for this Court with

regards to the “habitual residence” and “last shared intent” of the parties that are

determinative of the present action.

       The final authority Petitioner relies on is an Ohio case, Ciotola v. Fiocca, 86 Ohio

Misc. 2d 24, 684 N.E.2d 763, 765 (Com. Pl. 1997). This case also involves the removal

of a child from Italy. Italy again appears to be the only common factor between the two

cases. In Ciotola the wrongfully removing wife changed her mind about the child’s

return. In the present action it is Petitioner who changed his mind about the family’s

agreed upon plan for their future. Ciotola arose before the 2001, well-reasoned decision

in Mozes as adopted by our Seventh Circuit. The only uncertainty regarding the Prouse

family’s move to the United States was the date that Dr. Prouse was going to join his

family in the United States as the parties had agreed. There was never any uncertainty

that J.P.’s residence would be in the United States.

                               VI. CONCLUSION

       Petitioner has failed to show any wrongful taking or retention of J.P. under the

Hague Convention.     The evidence shows the parties shared a joint intent to relocate to

the United States when Ms. Thoreson left with J.P. in December of 2011. The evidence

overwhelmingly demonstrates Dr. Prouse changed his mind about relocating in late July

2012 after being served with divorce proceedings and obtaining legal counsel. By July of

2012, J.P. was a habitual resident of Wisconsin and this Court should make that finding

as a matter of law.

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WHEREFORE, Petitioner respectfully requests this Court:

      1) Dismiss the Petition for Return of Minor Child on its merits finding there was no

      wrongful removal or withholding and awarding Respondent actual costs and

      attorneys’ fees;

      2)   Issue a Decision determining that the United States is now J.P.’s habitual

      residence;

      3) In the alternative set a scheduling conference pursuant to Fed. R. Civ. P. 16 to

      determine whether or not J.P. is settled in the United States;

      4) In the alternative, if the Court is considering sending J.P. back to Italy, include in

      said Order provisions regarding the Petitioner’s verification of dismissal of any

      criminal action in Italy, and requiring Petitioner to make financial accommodation

      for the living expenses of Respondent and J.P. upon return to Italy. See Tabacchi v.

      Harrison, supra.


             Respectfully submitted this 2nd day of October, 2012.

                                           SIPSMA, HAHN & BROPHY, L.L.C.

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